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                           IN THE UNITED STATES DISTRICT COURT
                            FOR NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

FLAVA WORKS, INC.,                              )
                                                )       Case No. 2017 cv 1171
        Plaintiff,                              )
                                                )
-v-                                             )       Hon. Ronald Gettleman
                                                )
SALSAINDY, LLC, &                               )
MARQUES GUNTER,                                 )
                                                )
        Defendants.                             )

                                        NOTICE OF MOTION

        PLEASE TAKE NOTICE that on February 5, 2019 at the hour of 9:15 a.m., or as soon thereafter

as counsel may be heard, Plaintiff Flava Works, Inc. shall appear before the Honorable Jorge Gettleman in

Room 1703 of the Everett McKinley Dirksen United States Courthouse, 219 S Dearborn Street, Chicago,

IL 60604 and shall then and there present the party’s Joint Motion to Continued Deadline for Defendants’

Summary Judgment Motion, a copy of which is attached and served upon you.

Dated: January 29, 2019                         Respectfully submitted,

                                                FLAVA WORKS INC

                                                /s/ Adam S. Tracy
                                                _____________________________
                                                One of Its Attorneys




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                                    CERTIFICATE OF SERVICE

        I, Adam S. Tracy, an attorney, hereby state that on January 29, 2019 a copy of the foregoing

Plaintiff Kevin Heberle’s Notice of Motion and accompanying Joint Motion to Continued Deadline for

Defendants’ Summary Judgment Motion was served upon the following counsel of record in accordance

with the Northern District of Illinois General Order on Electronic Case Filing and by regular U.S. Mail:

Andrew Fraker
NEAL, GERBER & EISENBERG LLP
Two North LaSalle Street, Suite 1700
Chicago, IL 60602-3801




                                                         /s/ Adam S. Tracy__________________
